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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

 GOLDFINCH LABORATORY, P.C.,                         )          Case No. 4:24-cv-168
                                                     )
                   Plaintiff,                        )
 v.                                                  )
                                                     )         JURY TRIAL DEMANDED
 IOWA PATHOLOGY ASSOCIATES, P.C.                     )
 AND REGIONAL LABORATORY                             )
 CONSULTANTS P.C.,                                   )
                                                     )
                   Defendants.                       )

                                          COMPLAINT

           Goldfinch Laboratory, P.C. (“Goldfinch”) brings this Complaint against Iowa Pathology

Associates, P.C. (“IPA”) and Regional Laboratory Consultants, P.C. (“RLC”). Plaintiff Goldfinch

seeks injunctive relief, damages, and its attorneys’ fees based on (a) the concerted action by IPA

and RLC to suppress competition in the market for pathology services, and the submarket for

dermatopathology services, in central Iowa in violation of §1 of the Sherman Act, 15 U.S.C.§1,

and the Iowa Competition Law, Iowa Code, §553.4 and (b) the attempt by IPA and RLC to

establish and maintain a monopoly in those markets in violation of §2 of the Sherman Act, 15

U.S.C. §2, and the Iowa Competition Law, Iowa Code, §553.5. In support of this Complaint,

Goldfinch respectfully alleges as follows:

                                             PARTIES

           1.     Plaintiff Goldfinch Laboratory, P.C. is a professional corporation located at

4637 121st Street in Urbandale, Iowa 50323. It was incorporated under the law of the State of

Iowa on January 25, 2022. Through its pathologists, Goldfinch provides dermatopathology and

other pathology services for patients in central Iowa whose physicians refer specimens to

Goldfinch for diagnoses.



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       2.        Defendant Iowa Pathology Associates, P.C. is a professional corporation located at

1212 Pleasant Street in Des Moines, Iowa 50309. It is incorporated under the laws of the State of

Iowa. IPA is an independent laboratory that, through its pathologists, provides dermatopathology

and other pathology services for patients in central Iowa whose physicians refer specimens to IPA

for diagnoses.      Defendant Regional Laboratory Consultants is a separately incorporated

professional services corporation that is an affiliate of IPA and that is comprised of the same

pathologists as the pathologists at IPA. IPA and RLC share their profits with each other.

       3.        Goldfinch is owned by four pathologists – Tiffani Milless, M.D.; Caitlin Halverson,

M.D.; Renee Ellerbroek, M.D.; and Jared Abbott, M.D. Each of these physicians practices

pathology exclusively at Goldfinch.

       4.        Prior to January of 2023, each of these physicians practiced pathology exclusively

at IPA. However, on October 26, 2022, they orally advised IPA of their intent to leave IPA and

to form a professional corporation that would provide dermatopathology and other pathology

services for patients. On November 10, 2022, these pathologists gave formal written notice of their

intent to leave IPA early in 2023.

       5.        Goldfinch began providing dermatopathology services and other pathology

services for patients whose specimens were referred by physicians on February 1, 2023.

                                  JURISDICTION AND VENUE

       6.        The acts and practices of defendants challenged in this action are in, and affect,

interstate commerce (a) because the equipment and reagents used by both plaintiffs and defendants

have traveled in interstate commerce; (b) because some of the specimens analyzed by the

pathologists at both Goldfinch and IPA are sent in interstate commerce; and (c) because all parties

have contracts with multi-state insurance companies and with Medicare.




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        7.      This Court has subject matter jurisdiction over Goldfinch’s Sherman Act claims

under 15 U.S.C. §§4 and 16 and under 28 U.S.C. §§1331 and 1337.

        8.      This Court has supplemental jurisdiction over Goldfinch’s state law claims under

28 U.S.C. §1367.

        9.      This Court has personal jurisdiction over defendants IPA and RLC because both

corporations are located in this District and regularly provide services in this District.

        10.     Venue is proper in this District under 15 U.S.C. §22 and 28 U.S.C. §1391 because

both defendants are headquartered in this District and all of the conduct challenged in this litigation

took place in this District.

                               THE CHALLENGED CONDUCT

        11.     Prior to the formation of Goldfinch, IPA was the only independent pathology

practice in central Iowa that was not exclusively tied to one source of referrals. It was the only

independent pathology practice in central Iowa that offered dermatopathology services. Indeed,

IPA has acknowledged that it had no competition prior to the departure of the pathologists who

formed Goldfinch.

        12.     There were, and are, pathologists at the University of Iowa, but these pathologists

largely confine their practices to providing services for patients of physicians at the University and

provide very few services in central Iowa. At the University of Iowa, there are three dermatologists

who provide dermatopathology services on a part-time basis, but these dermatologists largely

confine their practices to providing dermatopathology services for patients of physicians affiliated

with the University of Iowa.

        13.     On October 26, 2022, the four pathologists who formed Goldfinch advised IPA and

RLC orally of their intention to leave IPA and to form a pathology practice with emphasis on the

provision of high quality dermatopathology and other pathology services for patients whose


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specimens were referred to Goldfinch by independent physicians who were not required by

contract or otherwise to refer to a mandated entity.

       14.     Prior to the autumn of 2022, IPA and RLC had been concerned that some of the

pathologists associated with those two corporations might seek to establish a competitive

pathology practice. Indeed, since 2021, these two corporations had sought to require each of those

pathologists to sign the Employment Agreement attached as Exhibit 1.

       15.     Signature of the Agreement was demanded by IPA and RLC acting in concert with

one another. The four pathologists who formed Goldfinch refused to sign the Agreement, but they

were strongly pressured to sign the Agreement. Indeed, IPA and RLC repeatedly badgered the

four pathologists to try to get them to say that the Agreement had taken effect even though they

hadn’t signed the Agreement. The administrator of these corporations told these pathologists that

the Agreement was in effect even though they had not signed it.

       16.     Paragraph 6 of the Agreement is entitled “NONCOMPETITION.” It provides, in

pertinent part, that, for one year following termination of the employment of a physician, that

“Physician shall not compete with Employer by providing services under contract or other

arrangement, either directly or indirectly, to or on behalf of, a competing pathology program

withing twenty-five (25) miles of the current location of Employer at 1212 Pleasant St., Des

Moines, Iowa, unless Employer consents in writing.” Although the pathologists who formed

Goldfinch did not sign the Agreement, the pressure put on them to sign the Agreement

demonstrates the anticompetitive animus of the defendants.

       17.     As the heading “NONCOMPETITION” explicitly indicates, the purpose of this

provision was to prevent the formation of a pathology practice that would compete with IPA and

RLC for the provision of pathology services within the greater Des Moines area. And to the extent




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that pathologists formerly associated with IPA and RLC would be prohibited from practicing

pathology in the greater Des Moines area, their ability to compete for pathology services in all of

central Iowa would be entirely suppressed.

       18.     The noncompetition clause of the Agreement was not limited to prohibiting use of

confidential IPA or RLC information -- or any other legitimate business interest. Rather, its sole

purpose was to attempt to prevent the formation of a pathology practice that would compete with

IPA and RLC for referrals of pathology specimens from sources that were not bound by contract

or otherwise to refer specimens only to one specified provider of pathology services.

       19.      In January of 2023, while the pathologists who formed Goldfinch were still

employed by IPA and RLC, the Federal Trade Commission proposed a rule that would ban non-

compete clauses. In so doing, the Commission stated that such clauses “prevent new businesses

from forming, stifling entrepreneurship, and prevent novel innovation.” See Proposed 16 C.F.R.

§910 et seq. §910.2(a), https:/www.ftc.gov/news-events, 88 Fed Reg. 3482 et seq. (Jan. 19, 2023).

The proposed rule declares it to be “an unfair method of competition for an employer to enter into

or attempt to enter into a non-compete clause with a worker.” The proposed rule defines “worker”

to include doctors and business executives. A final rule declaring most covenants not to compete

to be anticompetitive and unlawful was issued by the Commission on April 23, 2024 and published

in the Federal Register on May 7, 2024 (89 Fed. Reg. 38342). See 16 C.F.R. Part 910.

       20.     As the Chair of the FTC, Lina M. Khan, stated in issuing the proposed rule, “The

freedom to change jobs is core to economic liberty and to a competitive, thriving economy.”

Indeed, noncompete agreements are particularly contrary to public policy where, as here, they

deprive patients of access to highly qualified physicians.




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       21.     In a statement accompanying issuance of the proposed rule, the FTC stated that

noncompete clauses “hinder innovation and business dynamism in multiple ways – from

preventing would be entrepreneurs from forming competitive businesses, to inhibiting workers

from bringing innovative ideas to new companies. This ultimately harms consumers; in markets

with fewer new entrants and greater concentration, consumers can face higher prices – as seen in

the health care sector.”

       22.     The on-going campaign by IPA and RLC to get the four pathologists who gave

notice of their intent to form a new pathology practice to sign the NONCOMPETITION agreement

was only the beginning of their efforts to suppress competition in the market for pathology

services, and the submarket for dermatopathology services, in central Iowa and the on-going

attempts by IPA and RLC to monopolize those markets.

       23.     Specifically, although IPA represented to an Iowa state court and to the public that

the four pathologists who had announced their intention to form a competing practice were

employed by IPA through January 31, 2023, IPA and RLC barred these pathologists from coming

to the office and thus prevented them from practicing pathology. In this manner, they sought to

give the impression to potential sources of referral of dermatopathology and other pathology

specimens that these pathologists were no longer practicing. Moreover, the lock-out prevented

these pathologists from maintaining on-going relations with potential referral sources. In so doing,

IPA and RLC risked compromising patient care by preventing these pathologists from completing

their cases, communicating critical cancer results, and utilizing appropriate testing modalities.

       24.     In addition, IPA refused to share biopsy slides with Goldfinch pathologists when

those slides were required for continuity of care of the patient -- even though this practice was




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contrary to the standard of care and could well have caused harm to patients. Once again, this was

an effort to induce referral sources not to make referrals to Goldfinch.

        25.     IPA and RLC, and the pathologists who comprise those corporations, have made,

and continue to make, several false and deceptive statements designed to dissuade referral sources

from making referrals to Goldfinch. For example, they have assured several physician practices

that Goldfinch would not exist in a year due to legal problems. The apparent purpose of these

statements was to try to dissuade referral sources from establishing a relationship with Goldfinch.

        26.     Similarly, IPA has told referral sources that they cannot send outpatient clinical

biopsies to Goldfinch because IPA held the exclusive contract for such biopsies -- when in fact

that was not true. For example, IPA told the leadership of Unity Point Clinic that that Clinic could

not refer specimens to Goldfinch based on a supposed exclusive contract between IPA and the

Clinic -- when, in fact, there is no contract between IPA and Unity Point Clinic. Similarly, IPA

has told Gabrielson Clinic in Webster City that its lawsuit against Goldfinch would prevent

Goldfinch from operating effectively.

        27.     In addition to making false and deceptive statements designed to suppress

competition and to monopolize the relevant market, IPA has engaged in other unfair practices. For

example, at least one partner of IPA, or that partner’s spouse, has posted negative Google reviews

falsely stating that Goldfinch pathologists are immoral and poorly trained.

        28.     Another example of false and deceptive statements by IPA designed to suppress

competition by Goldfinch is IPA’s representations to at least one referral source, and most likely

to other referral sources, that these referral sources should not let Goldfinch handle their clinical

pathology specimens, including blood and culture specimens, because Goldfinch would delay in

the reporting of results.




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       29.     IPA also has also told potential referral sources that Goldfinch isn’t legally allowed

to exist or that Goldfinch won’t last long or be a stable business. It has also falsely stated to these

sources that Goldfinch’s practice is limited to dermatopathology.

       30.     Further, IPA has falsely stated to clients that Goldfinch has no courier service and

that Goldfinch has no ability to interface with the clients’ electronic medical record. As with all of

the other false and deceptive statement and unfair business practices, the purpose of these

statements was to try to drive Goldfinch out of business or, at a minimum, to cripple its ability to

compete for referrals from sources that are not obligated to refer to one specific provider of

pathology services.

       31.     The efforts by IPA and RLC to suppress competition in the market for pathology

services, and the submarket for dermatopathology services, in central Iowa and their attempts to

monopolize those markets are on-going and continuing. These efforts have severely undercut the

ability of Goldfinch to compete effectively in those markets and has the potential to harm patients.

                        THE MONOPOLY POWER OF IPA AND RLC

       32.     Prior to the departure of the pathologists who formed Goldfinch, IPA and RLC had,

as their counsel recently has acknowledged, monopoly power in the market for pathology services,

and in the submarket for dermatopathology services, in central Iowa. On December 31, 2022, they

had nearly 100% of the pathologists in central Iowa who were not associated with a single private

practice group that confined itself to serving the physicians in that one group. At that time, IPA

and RLC had 100% of the dermatopathologists in central Iowa. As a result, these two corporations

were able to charge supracompetitive prices for their services.

       33.     For example, IPA and RLC have a contract with Central Iowa Hospital Corporation

for pathology services covered by Part A of Medicare for $1.4 million per year. This fee is in the

top 5% of Part A contracts in the United States. Indeed, an administrator of Central Iowa Hospital


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Corporation stated that its consultant had advised that its payments to RLC were in the top 1% of

similar contracts in this country.

       34.     Similarly, IPA and RLC charge rural hospitals at least 400% of the actual Medicare

fee schedule amount for the technical component of pathology services for Medicare patients.

Likewise, they charge the Veterans Administration hospital in Des Moines substantially above the

Medicare benchmark rates.

       35.     If IPA and RLC succeed in destroying or crippling the competitive efforts of

Goldfinch through the anticompetitive, unfair, and deceptive practices set forth above, they will

have succeeded in suppressing competition in, and in attempting to monopolize the market for,

pathology services and the submarket for dermatopathology services in, central Iowa. The result

has been, and will continue to be, fees for general pathology services, and for dermatopathology

services, in excess of competitive levels in those markets – and thereby to harm patients and other

payors for those services.

       36.     Goldfinch estimates that, as a direct result of the anticompetitive, unfair, and

deceptive practices set forth above, it has lost several contracts with referral sources that would

otherwise have referred specimens to Goldfinch More specifically, Goldfinch estimates that it

has incurred a loss of more than $3,340,000 as the proximate result of these practices.

                                     CLAIMS FOR RELIEF

                                             COUNT I
                             Violation of Section I of the Sherman Act,
                                            15 U.S.C § 1

       37.     Plaintiff Goldfinch repeats and incorporates by reference each of the other

paragraphs of this Complaint.




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       38.     Defendants IPA and RLC have engaged in a continuing combination and

conspiracy to restrain trade in the market for pathology services, and in the submarket for

dermatopathology services, in central Iowa --in violation of § 1 of the Sherman Act, 15 U.S.C.§ 1.

       39.     In furtherance of this unlawful combination and conspiracy, IPA and RLC have

engaged in numerous anticompetitive acts, including, but not limited to the following:

       a.      Seeking to require all pathologists who were associated with these corporations to

               sign a NONCOMPETITION agreement that would entirely prohibit them from

               practicing pathology in the greater Des Moines area and would thus cripple their

               ability to provide pathology services in central Iowa;

       b.      Locking the pathologists who formed Goldfinch out of their offices while they were

               still employed by IPA so that potential referral sources would believe that they had

               abandoned their professional duties and patient care responsibilities;

       c.      Refusing to share biopsy slides with the pathologists at Goldfinch when required

               for continuity of care -- all in an effort to subvert competition by Goldfinch;

       d.      Falsely representing to potential clients of Goldfinch that Goldfinch would not exist

               in a year;

       e.      Telling potential source referrals of pathology specimens that these sources could

               not refer specimens to Goldfinch because IPA held exclusive contracts with these

               referral sources – when, in fact, IPA did not always have contracts with these

               potential referral sources;

       f.      Having at least one of their pathologists, or the spouse of that pathologist, post

               reviews on Google falsely stating that the pathologists at Goldfinch are immoral

               and poorly trained -- where there was absolutely no basis for such statements;




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       g.      Falsely representing to potential referral sources that Goldfinch might lose their

               specimens and delay in reporting results;

       h.      Falsely telling potential referral sources that Goldfinch wasn’t legally allowed to

               exist;

       i.      Falsely telling potential referral sources that Goldfinch has no courier service; and

       j.      Falsely stating that Goldfinch pathologists practice only dermatopathology when in

               fact they practice all facets of pathology.

       40.     Defendants’ unlawful conduct has severely suppressed competition in the market

for pathology services, and the submarket for dermatopathology services, in central Iowa. It has

enabled defendants to charge supracompetitive prices for pathology services and has caused direct

and substantial injury to Goldfinch. There is no competitive justification for the conduct of

defendants.

       41.     The conduct of defendants set forth in this Complaint violates § 1 of the Sherman

Act. Goldfinch has standing to pursue its claims under this Section.

       42.     As a direct and proximate result of defendants’ unlawful conduct, Goldfinch has

been injured in its business and property and suffered damages in an amount to be proven at trial.


                                           COUNT II
                            Violation of the Iowa Competition Law,
                                    Iowa Code 2024 § 553.4

       43.     Plaintiff Goldfinch repeats and incorporates by reference each of the foregoing

paragraphs of the Complaint.

       44.     The actions of defendants set forth above “restrain or monopolize trade or

commerce in a relevant market”, i.e., the market for pathology services, and submarket for

dermatopathology services, in central Iowa, in violation of Iowa Competition Law § 553.4.



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       45.     Goldfinch has been, and continues to be, injured by the conduct set forth above

under § 553.12 of the Iowa Competition Law. Goldfinch has standing to recover its damages

resulting from this conduct and to recover the necessary costs of bringing this suit.

       46.     As a direct and proximate result of defendants’ past and continuing violation of

§ 553.4 of the Iowa Competition Law, competition for the delivery of dermatopathology and other

pathology services in central Iowa has been suppressed. Goldfinch has been injured in its business

and property and has suffered damages in an amount to be proven at trial.


                                          COUNT III
                              Violation of § 2 of the Sherman Act,
                                          15 U.S.C. § 2

       47.     Plaintiff Goldfinch repeats and incorporates by reference each of the above

paragraphs.

       48.     The false, deceptive, and unfair conduct of IPA and RLC set forth in this Complaint

constitutes an attempt, and also a conspiracy, by these entities to monopolize the market for

pathology services, and the submarket for dermatopathology services, in central Iowa -- in

violation of § 2 of the Sherman Act, 15 U.S.C. § 2.

       49.     Goldfinch has standing to bring the action. As a direct and proximate result of

defendants’ past and continuing violation of § 2 of the Sherman Act, 15 U.S.C. § 2, Goldfinch has

been injured in its business and property and suffered damages in an amount to be proven at trial,

and defendants have been able to charge supracompetitive prices for their services.


                                          COUNT IV
                          Violation of Iowa Competition Law, § 553.5

       50.     Plaintiff Goldfinch repeats and incorporates by reference each of the above

paragraphs.



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        51.    The false, deceptive, and unfair conduct of IPA and RLC set forth above constitutes

an “attempt to establish or establish, maintain, or use a monopoly of trade or commerce” in the

market for pathology services, and the submarket for dermatopathology services, in Central Iowa

“for the purpose of excluding competition or of controlling, fixing, or maintaining prices” in

violation of the Iowa Competition Law, § 553.5.

        52.    As a direct and proximate result of defendants’ past and continuing violation of

§ 553.5 of the Iowa Competition Law, Goldfinch has been injured in its business and property and

has suffered damages in an amount to be proven at trial. Therefore, Goldfinch has standing to bring

this action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Goldfinch requests relief and prays for judgment against defendants IPA

and RLC as follows:

        a.     An award of damages in an amount to be determined at trial or by the Court;

        b.     An injunction enjoining defendants from engaging in the wrongful and unlawful

               acts described herein;

        c.     An order for such declaratory relief as may be appropriate;

        d.     An award of the costs of the lawsuit, including reasonable attorneys’ fees and

               expenses; and

        e.     An award of such other relief as the Court may deem just and proper.

                                    JURY TRIAL DEMAND

        Goldfinch hereby demands a jury trial of all triable issues.




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                                 /s/ Sarah K. Franklin
                                 Sarah K. Franklin, AT0009630
                                 Margaret A. Hanson, AT0011866
                                 Spencer Willems, AT0014087
                                 DENTONS DAVIS BROWN PC
                                 215 10th Street, Suite 1300
                                 Des Moines, IA 50309
                                 Telephone: 515-288-2500
                                 Email: sarah.franklin@dentons.com
                                 Email: margaret.hanson@dentons.com
                                 Email: spencer.williems@dentons.com

                                 Jack R. Bierig (Pending Pro Hac Vice
                                 Admission)
                                 ArentFox Schiff LLP
                                 233 South Wacker Drive, Suite 7100
                                 Chicago, IL 60606
                                 Telephone: 312-258-5511
                                 Email: jack.bierig@afslaw.com

                                 ATTORNEYS FOR PLAINTIFF




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